      Case
Name and      2:20-cv-04093-JAK-PLA
         address:                                    Document 14 Filed 05/22/20 Page 1 of 3 Page ID #:247
               ANNE CHAMPION (pro hac vice pending)
                     achampion@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
                     200 Park Avenue, 48th Floor
                        New York, NY 10166

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
ROY AL HOLDINGS TECHNOLOGIES CORP. D/B/ AX.LABS,
                                                                             CASE NUMBER
a Delaware corporation
                                                         Plaintiff(s),                                   2:20-cv-4093

                   V.

IP VIDEO MARKET INFO INC.,                                                    APPLICATION OF NON-RESIDENT ATTORNEY
 a Hawaii corporation.                                                              TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PROHACVICE
INSTRUCTIONS FOR APPLICANTS
( 1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
     Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
     supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
     days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
     completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
     Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order
     (using Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time offiling (using a credit
     card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
     grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain
     attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
     G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION

Champion, Anne
Applicant's Name (Last Name, First Name & Middle Initial)                                             check here iffederal government attorney D


Firm/Agency Name
Gibson Dunn & Crutcher LLP                                               212.351.5361                              212.351.5281
200 Park Avenue, 48th Floor                                              Telephone Number                          Fax Number
Street Address
New York, NY 10166                                                                              achampion@gibsondunn.com
City, State, Zip Code                                                                                  E-mail Address

I have been retained to represent the following parties:
IP VIDEO MARKET INFO INC.                                                0   Plaintiff(s) ~ Defendant(s)       0   Other:

                                                                         0   Plaintiff(s)   0   Defendant(s)   0   Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name o,,f Court                      Date of Admission              Active Member in Good Standing? (if not, please explain)
State of New York                                           06/20/2006               Yes
US District Court, SDNY                                       06/2007                Yes
US District Court, EDNY                                       06/2007                Yes


G-64 (02/20)                APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page I of3
         Case 2:20-cv-04093-JAK-PLA Document 14 Filed 05/22/20 Page 2 of 3 Page ID #:248
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
       Case Number                                                                                Date of Application       Granted I Denied?
          ti_lA
            I




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

          SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           ( 1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                of this Court and maintains an office in the Central District of California for the practice of law, in
                which the attorney is physically present on a regular basis to conduct business, as local counsel
                pursuant to Local Rule 83-2.1.3.4.

               Dated May 22, 2020                                       Anne Champion
                                                                       Applicant's Name (please type or print)

                                                                       A~_.?--~--~--




G-64 (02/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 2 of 3
          Case 2:20-cv-04093-JAK-PLA Document 14 Filed 05/22/20 Page 3 of 3 Page ID #:249
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